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    Attorneys for Defendants
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  7
                                   UNITED STATES DISTRICT COURT
  8
                                  CENTRAL DISTRICT OF CALIFORNIA
  9
 10
    SOUNDEXCHANGE, INC., a Delaware                    CASE NO. 2:22-CV-04410-AB-AFM
 11 corporation.
                                                       DEFENDANTS LIVEONE, INC.,
 12                  Plaintiff,                        LIVEXLIVE, CORP., AND SLACKER,
                                                       INC.’S MOTION FOR EXTENSION OF
 13                                                    TIME TO FILE A RESPONSIVE
             v.                                        PLEADING PURSUANT TO F.R.C.P. RULE
 14                                                    6(b)
 15
      LIVEONE, INC., a Delaware corporation &
 16 SLACKER, INC., a Delaware corporation.
 17
                     Defendants.
 18
 19
             NOW COMES Defendants LIVEONE, INC. (“LiveOne”) and SLACKER, INC. (“Slacker”)
 20
      (collectively, the “Defendants”), and its attorney, and for this Motion for Extension of Time to File
 21
      a Responsive Pleading to Plaintiff’s Complaint Pursuant to Rule 6(b) of the Federal Rules of Civil
 22
      Procedure, say:
 23
 24
             1.      Plaintiff SOUNDEXCHANGE, INC.’s Complaint arises from Defendants’ alleged
 25
      failure to make certain required statutory license payments;
 26
             2.      Following the filing and service of the Complaint, Plaintiff and Defendants engaged
 27
      in ongoing meaningful settlement negotiations with the expectation that a settlement would be
 28

            MOTION FOR EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING
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  1 reached before Defendants’ deadline for filing a responsive pleading.
  2          3.      The negotiations have proven to be complicated. There have been a number of offers,

  3 back and forth, and numerous emails, calls and discussions.
  4          4.      A final resolution appears promising but is not guaranteed. Defendants would like

  5 to remain focused on their pursuit of a negotiated resolution and forestall the filing
  6          5.      Plaintiff’s counsel has represented to Defendants that Plaintiff will not oppose

  7 Defendants’ seeking relief to file a late answer providing such relief is sought by end of day,
  8 September 8, 2022.
  9
 10          WHEREFORE, Defendants LIVEONE, INC. and SLACKER, INC. pray this court grant

 11 them up to and including September 29, 2022, to file their Response to Plaintiff’s Complaint.
 12
 13 DATED: September 8, 2022                  KESHER LAW GROUP, P.C.
                                              Jeffrey A. Katz
 14
 15                                           /Jeffrey A. Katz/
 16                                           Attorneys for Defendants
                                              LIVEONE, INC., and SLACKER, INC.
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           MOTION FOR EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING
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  1                                       PROOF OF SERVICE

  2 STATE OF CALIFORNIA,
      COUNTY OF ORANGE
  3
             I am employed in the County of Orange, State of California. I am over 18 years of age and
  4
      not a party to this action. My business address is 1919 N. Heliotrope Dr., Santa Ana, CA 92706.
  5
             On September 8, 2022, I served a copy of the document(s) listed below to be served to the
  6
      address(es) and by the method of service described below as follows:
  7
      DEFENDANTS LIVEONE, INC., LIVEXLIVE, CORP., and SLACKER, INC.’S MOTION
  8 FOR EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING PURSUANT TO
  9 F.R.C.P.RULE 6(b)
 10 JEFFREY G. KNOWLES                                   Attorneys for Plaintiff
    Ef-jgk@cpdb.com                                      SOUNDEXCHANGE, INC.
 11 CHRISTOPHER J. WIENER
    Ef-cjw@cpdb.com
 12 COBLENTZ PATCH DUFFY & BASS, LLP
 13 One Montgomery Street, Suite 3000
    San Francisco, CA 94104-5500
 14
 15
 16 X        BY EMAIL. I served the above documents via email transmission to each of the parties
             listed above to their listed email address and each of the parties have consented to accept
 17          electronic service.
 18
             I declare under penalty of perjury under the laws of the State of California and the United
 19
 20 States of America that the foregoing is true and correct. Executed on September 8, 2022, in Santa
 21 Ana, California.
 22
                                                                 ______________________________
 23
                                                                 Jeffrey A. Katz
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           MOTION FOR EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING
